Case 1:18-cv-00145-JMS-RT Document 544 Filed 06/10/24 Page 1 of 4 PageID.9370



KIRK T. MANHARDT
SHANE HUANG
MINIARD CULPEPPER JR.
United States Department of Justice
P.O. Box 875
Ben Franklin Station
Washington, DC 20044-0875
Telephone: (202) 616-0341
Email: shane.huang@usdoj.gov

Attorneys for the United States

                    UNITED STATES DISTRICT COURT
                         DISTRICT OF HAWAII


 UNITED STATES OF AMERICA,
         Plaintiff,
     v.                                     Civ. No. 18-145 JMS RT
 SANDWICH ISLES COMMUNI-
 CATIONS, INC., et al.,
         Defendants.


                   THE UNITED STATES OF AMERICA’S
                    MOTION FOR ORDER APPROVING
                  CONFIRMATION OF EXECUTION SALE

      Plaintiff the United States of America (“United States”) respectfully moves

this Court (the “Motion”) for entry of its proposed Order Approving Confirmation

of Execution Sale (the “Order”). This Motion is supported by the United States’

Memorandum in Support of the Motion, Declaration of Counsel, and Declaration of

Channing Iwamuro, and Exhibits A-C attached hereto. Pursuant to Paragraph 5 of

the Court’s Order Approving Execution Sale Procedures, ECF No. 535, the Court


                                        1
Case 1:18-cv-00145-JMS-RT Document 544 Filed 06/10/24 Page 2 of 4 PageID.9371



shall hold a hearing to consider the confirmation of the sale (“Confirmation

Hearing”), at which the Court may allow further bidding after good cause shown

and, after considering any objections that the sale did not comply with the Court’s

auction procedures, approve the sale of the property identified in the winning bid

to the successful bidder. The United States requests that the Court set the

Confirmation Hearing and enter the proposed Order Approving Confirmation of

Execution Sale, for the reasons set forth in the Memorandum in Support of the

Motion.

                             [Signature Page Follows]




                                          2
Case 1:18-cv-00145-JMS-RT Document 544 Filed 06/10/24 Page 3 of 4 PageID.9372




Date: June 10, 2024                Respectfully submitted,

                                   BRIAN BOYNTON
                                   Principal Deputy Assistant Attorney General

                                   CLARE E. CONNORS #7936
                                   United States Attorney
                                   District of Hawaii


                                   /s/ Shane Huang
                                   KIRK T. MANHARDT
                                   SHANE HUANG
                                   (Illinois Bar No. 6317316)
                                   MINIARD CULPEPPER JR.
                                   (MA Bar No. 693851)
                                   Civil Division
                                   United States Department of Justice
                                   P.O. Box 875, Ben Franklin Station
                                   Washington, DC 20044-0875
                                   Telephone: (202) 616-0341
                                   Email: shane.huang@usdoj.gov

                                   Attorneys for the United States




                                     3
Case 1:18-cv-00145-JMS-RT Document 544 Filed 06/10/24 Page 4 of 4 PageID.9373



                          CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2024, a true and correct copy of the

 foregoing UNITED STATES OF AMERICA’S MOTION FOR ORDER

 APPROVING CONFIRMATION OF EXECUTION SALE, together with the

 accompanying memorandum in support, declarations, and exhibits in support

 thereof, was filed with the Clerk of the Court using the CM/ECF system, which

 will electronically serve all represented parties who have filed an appearance. In

 addition, a copy was served via email on:

       Albert S.N. Hee

       Counsel for Hawaiian Telcom, Inc.


                                              /s/ Shane Huang
                                              SHANE HUANG




                                          4
